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Suzanne Daquila

From: Suzanne D'Aquila [snd@brownbuchanan.com]
Sent: Monday, September 14, 2009 9:42 AM

To: Trish Misko

Subject: Ken Kaisaris and Megan Ciota

Have you had any luck with deposition dates?
Thank you.

Suzanne D'Aquila
Paralegal

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